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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

                                         CLERK’S MINUTES

 CASE NO.:        8:15-cv-11-T-60CPT                     DATE:      February 13, 2020

 HONORABLE THOMAS P. BARBER

                                                       PLAINTIFF COUNSEL
 OXEBRIDGE QUALITY RESOURCES                           Glen Shrayer
 INTERNATIONAL, LLC, et al.

 v.

                                                       DEFENSE COUNSEL
 MARC TIMOTHY SMITH                                    Pro Se (by phone)

 COURT REPORTER: Scott Gamertsfelder                     DEPUTY CLERK:         Sonya Cohn

 TIME: 1:34 – 1:40 p.m.                                  COURTROOM:            14A
 TOTAL: 6 mins.


PROCEEDINGS:          MOTION HEARING

Court addresses Plaintiffs’ motion for order to show cause (Doc. 146).
